Case 1:22-cv-21261-JLK Document 4 Entered on FLSD Docket 04/25/2022 Page 1 of 1




                            UNITED STATESDISTRICT COURT
                            SO U TH ER N DISTRIC T O F FL O RID A
                                 CA SE N O .1:22-cv-21261-JLK

 CLIFF E.K ATZ,individually and on
 behalfofaclassofsim ilarly
 situated persons,

          Plaintiff,
 V S.


 H EA LTHCA RE REV EN U E RECOVERY
 GROUP,LLC,d/b/aA CCOUNT
 RESOLU TION SERVICES,

          D efendant.
                                              /

        O RD ER DIRE CTIN G PLA IN TIFF T O FILE E STIM ATED LEN G TH O F TR IAL

          TI'
            H S M A TT ER com esbefore the Cout'tsua sponte.

          Plaintiff filed her Com plaint on Apdl 22,2022.DE 1.The Courthas reviewed the

 Complaint,and CivilCoverSheet(DE 1-1)doesnotstatethe estimated length oftdalofthis
 m atter.

          Accordingly,itis ORDERED,ADJUD GED,and DECREED thatPlaintiffshallFILE

 thenumberofdaysofestimatedlength oftrial(forboth sidestotry entirecase),within nve(5)
 days.

          D ONE AND ORDERED in Chambers atthe Jnm es Lawrence King Federal Justice

 Building and U nited StatesCourthouse,M inm i,Flodda,this25th day ofApril,2022.




                                                   J    ES LA W REN CE K IN G
  cc:     A lICounselofR ecord                         ITED STA TES D ISTRIC    OU RT
